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                        IN THE UNITED STATES DISTRICT COURT

                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                              CRIMINAL NO.24-

               v.                                     DATE FILED: November 7,2024

RYAN STENWICK                                         VIOLATIONS: 18 U.S.C. S226lA(2)
                                                      (cyberstalking - I count)
                                                      18 U.S.C. S 2261A(1) (stalking - 2 counts)
                                                      18 U.S.C. S 844(h) (use of fire in
                                                      commission of a federal felony - 1 count)
                                                      18 U.S.C. $ 2 (aiding and abetting)

                                             INDICTMENT

                                             COUNT ONE

THE GRAND JURY CHARGES THAT:

                From on or about April 8, 2020 to on or about July 1 1,2020, in the Eastern

District of Pennsylvania and elsewhere, defendant

                                        RYAN STENWICK,

with the intent to harass and intimidate, used an interactive computer service, an electronic

communication service, and a facility of interstate and foreign commerce, to engage in a course

of conduct, including but not limited to swatting, distributing nude images, and forcing K.M. to

commit various depraved acts on video, and aided and abetted such conduct, that caused,

attempted to cause, and would be reasonably expected to cause substantial emotional distress to

victim K.M, and as a result of such conduct serious and life+hreatening bodily injury resulted,

and such conduct caused K.M. to engage in a sexual act by threatening and placing K.M. in fear.

                In violation of Title 18, United States Code, Sections 2261A(2)(B),2261(b)(2),

226 I (b)(3), 2261 (b)(4), 2242(r), and 2.
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                                          COUNT TWO

THE GRAND JURY FURTHER CHARGES THAT:

               On or about December 18,2021, in the Eastern District of Pennsylvania and

elsewhere, defendant

                                       RYAN STENWICK

and others, aided, abetted, counseled, commanded, and induced Patrick McGovern-Allen,

charged elsewhere, and Juvenile l, a person known to the grand jury, to travel in interstate

commerce from New Jersey to Abington Township, Pennsylvania, with the intent to harass and

intimidate another person, A.R., a juvenile, and in the course of and as a result of such travel

caused substantial emotional distress to A.R. and placed a member of A.R.'s immediate family in

reasonable fear of death or serious bodily injury, and the defendant aided and abetted the use of a

dangerous weapon during the offense.

               In violation of Title 18, United States Code, Sections 2261A(l),2261(b), and

22618, and2.




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                                       COUNT THREE

THE GRAND JURY FURTHER CHARGES THAT:

              On or about December 18,2021, in the Eastern District of Pennsylvania and

elsewhere, defendant

                                     RYAN STENWICK

and others, knowingly aided, abetted, counseled, commanded, and induced the use of fire, to

commit stalking, in violation of Title 18, United States Code, Sections 2261A(l),2261(b) and

22618, a felony prosecutable in a court of the United States, as charged in Count Two of this

Indictment.

              In violation of Title 18, United States Code, Sections 844(hX1) and2.




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                                         COUNT FOUR

THE GRAND JURY FURTHER CHARGES THAT:

               On or about January 2,2022, in the Eastem District of Pennsylvania and

elsewhere, defendant

                                      RYAN STENWICK

and others, aided, abetted, counseled, commanded, and induced Patrick McGovern-Allen,

charged elsewhere, and Juvenile l, to travel in interstate commerce from New Jersey to

Westtown-East Goshen Township, Pennsylvania, with the intent to harass and intimidate another

person, K.M., and in the course of and as a result of such travel placed K.M. and others in

reasonable fear of death or serious bodily injury, and the defendant aided and abetted the use of a

dangerous weapon during the offense.

               In violation of Title 18, United States Code, Sections 2261A(l),2261(b), and2.



                                                     A TRUE BILL:




ho,/rc
JACQUELINE C. ROMERO
United States Attorney




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  No.

                UNITED STATES DISTRICT COURT

                     Eastem District of Pennsylvania


                            Criminal Division

                 THE UNITED STATES OF AMERICA

                                       vs.


                         RYAN STENWICK

                             INDICTMENT
                                 Counts

        18 U.S.C. S226lA(2) (cyberstalking - I count)
        18 U.S.C. S 2261A(1) (stalking - 2 counts)
        18 U.S.C. S 844(h) (use of fire in commission of a federal
        felony - 1 count)
        18 U.S.C. $ 2 (aiding and abetting)
